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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN NOV 2 8 2007
SOUTHERN DIVISION
CLERK’S OFFICE
WNITED STATES OF AMERICA, DETROIT
Plaintiff, No, 07-20156
-V5- FION. AVERN COHN

D-2 ELFAT EL AQUAR,

 

 

Defendant. a
Bo oy: J
ae . t. -
RULE 11 PLEA AGREE ag bane ORS
Pee oP py pee
PAST ded anc et?
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, detéridaiit Buany

EL Aguar and the gavernmant agrea as follows:

1. GyiLTy PLEA(S)

A. Count(s) of Conviction

Defendant will waive grand jury indictment and enter a plea of guilty to Counts One
and Two of the Third Superseding Information. Count One charges Conspiracy for which
the maximum penalty is 5 Years imprisonment and a $250,000 fine; Count Two charges
Naturalization Fraud for the which the maximum penalty is 10 Years Imprisonment and a
$250,000 fine, and requires the Court to de-naturalize the defendant pursuant to 8 U.S.C.
§ 1451(e).

B. Elements of Offense(s)
The elements of Count One (Conspiracy) are:

(1) Two or more persons conspired and agreed to defraud the United States and
to commit the offenses against the United States referenced in the Information;

 
  

 

 

(2) Defendant deliberately joined or became a member of the conspiracy
having knowledge of its purposes; and

(3) The conspirators committed at least one overt act in furtherance
of the conspiracy and to effect the objects of the conspiracy.

The elements of Count Two (Naturalization Fraud) are:
(1) Defendant obtained naturalization or citizenship;

(2) Defendant did so contrary to law by making
false statements which were material; and

(3) Defendant did 50 knowingly and intentionally.

Cc. Factual Basia for Guilty Plea

The following facts are a sufficient and accurate basis for defendant's guilty plea:

From April 13, 1990 through September 21, 2007, ELFAT EL AOUAR conspired
with Nada Nadim Prouty, Samar Khalil Nabbouh, Talal Khalli Chahine, and others to
defraud the United States of valuable benefits of U.S. citizenship including U.S.
government employment, security clearances, U.S. military commissions, passports eic.,
and te commit offenses against the United States including marriage fraud, naturalization
fraud, perjury, false statements, and use of fraudulently procured proof of citizenship. In
furtherance of the conspiracy and to effect its abjects, ELFAT EL AQUAR committed the
following overt acts: 1.) Defandant EL AOUAR committed marriage fraud in violation of &
U.3.0. § 1325 by marrying U.S. citizen Gordon Wymer in Detroit, Michigan on November
15, 1990 for the purpose of evading U.S. immigration laws; 2.) Defandant EL AQUAR
submitted a series of false, fraudulent and forged documents and letters to Immigration
authorities verifying the validity of the fraudulent marriage in order to obtain permanent
residency status and, later, U.S. citizenship, thereby committing naturalization fraud in
violation of 18 U.S.C. § 1425(a), In fact, defendant EL AQUAR hired Wymer to marry her,
never had any relationship with Wymer or consummated the marriage, and naver resided
with Wymer as husband and wife as falsely represented continuously throughout her A-file
{alien file}; 3.) On June 30, 1995, Defendant EL AOUAR submitted a Complaint for
Divorce to the Wayne County, Michigan Circuit Court falsely stating that she and Wymer
‘lived and cohabited together as husband and wife;” 4.) On September 25, 1995,
Defendant EL AQUAR submitted an affidavit to the Wayne County, Michigan Circuit Court
falsely stating that Gordon Wymer then resided at 21188 Outer Drive in Dearbom,
Michigan; 5.) Defendant EL AQUAR defrauded the Federal Bureau of Investigation into

9.

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hiring her sister, Nada Nadim Prouty, on or about October 7, 1998 by serving as a
reference for her and withholding derogatory information about Prouty from the FBI.

2. SENTENCING GUIDELINES
A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. reed Guideling Range

There are no sentencing quideline disputes. Except as provided below, defendant's
guideline range is 8 to 14 months, as set forth on the attached worksheets. If the Court
finds:

a) that defendant's criminal history category is higher than reflected.on the

attached worksheets, or

b) that the offense level should be higher because, after pleading gullty,

defendant made any false statement to or withheld information from her

probation officer; otherwise demonstrated a lack of acceptance of

responsibility for her offense(s); or obstructed justice or committed any crime,
and if any such finding results in a guideline range higher than 8 to 14 months, the higher
guideline range becomes the agreed range. However, if the Court finds that defendant is
@ career Offender, an armed career criminal, or a repeat and dangerous sex offender as
defined under the sentencing guidelines or other federal law, and that finding is not already
reflected in the attached worksheets, this paragraph does not authorize a corresponding

increase in the agreed range.

 
 

 

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Neither party may take a position concerning the applicable guidelines that is
different than any position of that party as reflected in the attached worksheets, except as
necessary to the Court's determination regarding subsections a) and b), above. Apart from
the actual calculation of the sentencing guideline range, this agreement does not limit
defendant's ability to argue for a sentence below the stipulated sentencing guideline range
based upon the sentencing factors of 18 U.S.C, § 3553.

3. SENTENCE
The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing so
‘ must consider the sentencing guideline range.

A, Imprisonment

Pursuant to Federal Rule of Criminal Procedure 14(c)f1 )(C) the santence of
imprisonment in this case may not exceed the mid-point of tha sentencing guideline range
as determined by Paragraph 2B. Moreover, the government will not oppose defandant’s
request that her sentence be imposed to run concurrently with her undischarged term of
imprisonment.

B. Supervised Release

A term of supervised release may follow any term of Imprisonment, The Court may
impose a term of supervised release on count one and two of u p to 3 years on each count,
The agreement conceming imprisonment described above in Paragraph 3A does notapply

to any term of imprisonment that results from any later revacation of supervised release.

 
   

 

 

 

 

Cc. Special Asses nt(s

Defendant will pay a special assessment of $200 and must provide the government
with a receipt for the payment before sentence is imposed.

D. Fina

The Court may impose a fine on each count of conviction in any amount up ta
$250,000.

E. Restitution

Restitution is not applicable to this case.
4. WAIVER OF StTaTUTE OF LimiTATIONS.

Defendant has been advised that the statute of limitations for Naturalization Fraud
in violation of 18 U.S.C. § 1425 Is ten years after the commission of the offense. 18 U.S.C.
§ 3291. Accordingly, defendant could not be prosecuted for count 2 of the Third
Superseding Information without her consent and express walver of the statute of
limitations, which expirad on or about April 27, 2005. Defendant hereby waives the statute
of limitations otherwise applicable to count 2, consents to be prosecuted on that charge
Without regard to the statute of limitations and to plead guilty to the charge.
5, OTHER CHARGES.

The government agrees not to charge defendant with any other offenses of which

itis currently aware.

 

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6. EACH ParTy’s RIGH ITHD ROM THIS AGREEMENT
The government may withdraw from this agreement if the Court finds the correct
guideline range to be different than is determined by Paragraph 2B.
Defendant may withdraw from this agreement, and may withdraw her guilty pleas,
If the Court decides to impose a sentence higher than the maximum allowed by Part 3.
The Court shall advise defendant that if she does not withdraw her guilty plea under this
circumstance, the Court may impose a sentence greater than the maximum allowed by
Part 3.
T. IGHT T: EAL
If the sentence imposed does not exceed the maximum agilowed by Part 3 of this
agreement, defendant walves any right she has to appeal her conviction or sentence. [f
the sentence imposed is within the guideline range determined by Paragraph 2B the
government agrees not to appeal the sentence, but retains its right ta appeal any sentence
. below that range.
§. NSEQUENCES OF DRAWAL OF GUILTY PLEA{S) OR VACATION OF CONVICTION
If defendant Is allowed to withdraw her guilty plea(s) or if any conviction entered
pursuant to this agreement is vacated, the Court shail, on the government's request,
reinstate any charges that were dismissed as part of this agreement. If additional charges
are filed against defendant within six months after the date the order vacating defendant's
conviction or allawing her to withdraw her guilty plea(s) becomes final, which charges relate

directly or indirectly to the conduct underlying the guilty plea(s) or to any conduct reflected

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in the attached worksheets, defendant waives her right to challenge the additional charges
on the ground that they were not filed in a timely manner, including any claim that they
were filed after the limitations period expired.
9, PARTIES TO PLEA AGREEMENT

Unless otherwise indicated, this agreement does not bind any government agency
except the United States Attorney's Office for the Eastern District of Michigan.
10. Scop LES AGREEMEN |

This agreement, which includes all documents that it explicitly incorporates, is the
complete agreement between the parties. It supersedes all other promises,
representations, understandings, and agreements between the parties concerning the
Subject matter of this plea agreement that ara made at any time before the guilty plea is
entered in court, Thus, no oral or written promises made by the government to defendant
or to the attorney for defendant at any time before defendant pleads guilty are binding
except to the extent they have been explicitly incorporated into this agreement.

This agreement does not prevant any civil or administrative actions against
defendant, or any forfeiture claim agalnst any property, by the United States or any other

party,

 
 

 

 

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11. CEPTA GREEMENT ENDANT
This plea offer expires unlags it has been received, fully signed, in the Office of the
United States Attorney by 5:00 P.M. an November 30, 2007. Tha government reservas the

right to withdraw from this agreement any time before the entry of defendant's guilty plea.

— STEPHEN J. MURPHY
’ United States Attorney

Eric M. STRAUS KENNETH R. CHADWELL
Assistant United States Attorney Assistant United Stales Attorney

Chief, National Security Unit Aula
MARK J, JEBSON

Special Assistant U.S. Attorney
Senior Assistant Chief Counsel

U.S. immigration & Customs Enforcement
Date: “7, [apf e 9

By signing below, defendant acknowledges that she has read (or been read) this
entire document, undgrstands it, and agrees to its terms. She also acknowledges that she
is satisfied with herfttorney’s advice and representation. Defendant agrees that she has
had a full and gafiplete opportunity to confer with her attorney, and has had all of her
f afed by her atlorney.

  

 

   

 

     

   

  

 

EUFAT EL AQUAR
Defendant

 
   

 

WORKSHEET A (Offense Levels)

Defendant: _E}fat Nadim El Aouar Count(s: — 2&1

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Pocket Ne.: _.07-20150 Statutc(s):

Complete onc Worksheet A for each count of conviction (taking into account relevant conduot and treating each stipulated offense ag a acparate
count of conviction} before applying the multiple-count ruleg in U.8.8.G. ch. 3, pt. D. However, In any case involving multiple counts of con-
viction, if the counts of conviction are wil “closely related” to each other within Ihe meaning of U.3.5.G. § 3D1.2(d), complete only a single
Worksheet A.

BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.5.G. ch. Z)

 

 

Guideline Section Description
212.2(a) Naturalization Fraud/ Conspiracy
21,2.2(b3) Passport Use

 

 

 

 

ADJUSTMENTS (U.5.S.G. ch, 3, pts. A, B, C)

Guideline Section Description

 

 

 

ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items | and Z. [f this Worksheet A dogs not cover every count
of conviction (laking into account relevant conduct and weating each stipulated offense ax » separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B,

Wes ae a ae aaa a ac ac

If this is the only Worksheet A, check this box and skip Worksheet B.

Ifthe defendant has no criminal history, check this box and skip Worksheet C.

os

 

 

 

 

 

 

 

 

Levels

 

 

 

 

 

 

 

 

 

 

 

 

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Instructions (U.S.S.G. ch. 3, pt. D):

* Group the counts of conviction into distinct Groups of Closely Related Counts, “All counts invelving
substantially the same harro shall be grouped together into a single Group.” (See U.S.8.G. § 3D1.2.)

o Determine the offense level applicable to cach Group. (See U.S.S,G, § 3D1.3.)
° Determine the combined offense level by assigning “units” to each Group as follows (see U.S.8.G. § 3D).4);

* assign 1 unit to the Group with the highest offense level,

* assign | unit to each additional Group that is equally serious as, or 1 to 4 levels lesa serious than, the Group
with the highest offense level,

* assign 4 unit to each Group that is 5 to 8 levels less serious than the Group with the highest offense level,

* assign no units to each Group that is 9 or more levels less serioug than the Group with the highest offense

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

level,

1. Grour ONE: COUNTS |] & 2 12 1 wit
ADBIUSTED OFFENSE LEVEL

2, Group Two: COUNTS unit
ADJUSTED OFFENSE LEVEL

3. GROUP THREE: COUNTS ynit
ADJUSTED OFFENSE LEVEI. .

4, Grour Four: Counts unit
ADJUSTED OFFENSE LEVEL

5, TOTAL Units 1 unit

 

 

 

6. INCREASE IN OFFENSE LEVEL

 

 

 

 

1 unit 3 no inerease 244-3 units = add 3 levels 0
14% units > add | level 344-5 units —* add 4 levels
2 units + add 2 levels >5 levels > add 5 levels

 

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL 12

8. COMBINED ADJUSTED OFFENSE LEVEL
12
Entet the sum of the offense levels entered in Items 6 und 7,

 

 

 

 

 
 

  

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wo EET D ine Ra

(COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entared in [tem 3 of Worksheet A or the combined adjusted offenge level
entered in Iter 8 of Worksheet B.

ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.5.G § 3EI,1)

TOTAL OFFENSE LEVEL

Enter the difference berween Itema 1 and 2.

CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminul history. Otherwise, enter the criminal history categary
entered in Ilem 6 of Worksheel C,

CAREER OFFENDER / CRIMINAL LIVELTHOQD / ARMED CAREER CRIMINAL
(U.S.S.G. ch. 4, pt. B}

a Total Offenge Level: If the carcer offender provision (U.3.5.G. §4B1.1), the criminal livelihood provision
{U.5.3.G, § 4B 1.3), or the armed curcer criminul provision (U.5.5-G. § 451.4) resulis ina total offense
level higher than the total offense level entered in ice 3, enter the higher offense leval total.

b. Criminal History Category: If the career offender provision (U.S.S.C. 4481.1) or the armed career criminal
provision (U,3,5.G, § 451.4) results in a criminal history category higher than the criminal history category
entered in Hem 4, enter the higher criminal blstory category.

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)

Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A} produced by the total
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or $.b.

STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

Ifthe moxitnuin sentence aulhorized by statute is below, or a minimum sentence required by statute
is above, the guidellng range entered in Item 6, enter either the guideline range 4s restricted by
Slatute or the sentence required by statute. (Sea U.8.8.G. § SG1.1) Ifthe sentence on any count of
conviction is required by statute 19 be consecutive to the sentence on any other count of epnviction,
explain why.

 

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months

 

 

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1. PROBATION (U.S.S.G. ch. 5, pt. B)

“a. Imposition of a Term of Probation (U.S.8.G. § 5B1.1)

t 1. Prubation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

  

 

 

 

2. Probation is authorized by the guidelines (minimum of guideline rango = zero months).

 

 

3. Probation is authorized by the guidelines, provided the court imposes a condition or combination of
conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but s 6 months).

 

 

 

b. Length of of Probation (U.S.S.G. § 5B1.2)

 

aa E, Atleast | year but not more than 5 years (total offense level 2 6).

 

 

2, No more than 3 years (total offense level < 6).

 

 

 

c. Conditions of Probation (U.S.5.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2, SPLIT SENTENCE (U.S.S.G. § 5CI.1(c)(2), (€)(2))

 

a. A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

 

 

v b. A split sentence is authorized (minimum of guideline range > 0 months but « 19 months). The court

may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substituics community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
tinimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

 

 

 

3. IMPRISONMENT (U.S,S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable euidcline range
{entered in Item 6 of Worksheet D). (See U.8.8.G. § 5C1.1}

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4.

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(WORKSHEET E, p. 2)

SUPERVISED RELEASE (U.S.8.G, ch 5., pt. D)

Imposition ofa Term of Supervised Release (U.S.8,.G. § 5D1,1)

The court must impose a term of supervised release if it imposes a term of imprisonment of more
than one year, or if it is required io do so by statute, The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.5.G, § 5DB1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A ora Class B
felony, i.e., an offense carrying a maximum term of imprisonment 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
tclony, i.¢., an offense carrying a maximum term of imprisonment = 5 years bul < 25 years.

] year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.c., an offense
catrying 4 maximum term of imprisonment > 6 months but < 5 years,

The statute of conviction requires a minimum term of supervised release of months,

Conditions of Supervised Release (U.S.S.G. § 5D1,3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

3, RESTITUTION (U.S,S.G. § 5E1.1)

The court will determine whether restitution should be ordered and in what amount,
Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g, 18
U.S.C. §§ 3663A, 2327,) The parties agree that full restitution is §

The parties agree that the court inay order restitution to the victirn(s) of the offense(s} of conviction
in any amount up to and including $ . (See 18 U.S.C, §§ 3663(8)(3).)

 

The parties agree that the court may alse order restitution to persons other than the victim(s) of the
offense(s) of conviction, (See 18 U.S.C. $§ 3663(a)(LWA), 3663A(a)(3).}

Restitution is not applicable.

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(WORKSHEET E, p. 3)

FINE (U.S.S.G, § 5E3.2)

a. Fi or Indjyvidual end

The court must impose a fine unless “the defendant establishes that he [or she] ig unable to pay and is not
likely to become able to pay any fine.” (See U.S.8.G, § 5E1.2(a).) Generally, the fine authorized by the
guidelines ig limited to the range established in the Fine Table, (See U.8.5.G. § 5E].2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § SE1.2(b), (0)(4).)

b. Fing Range from Fine Table (U.S.S.G. § 5E1,2(c)(3))
Minimum Fine Maximum Fine
$2,000 $_ 250,000

SPECIAL ASSESSMENT(S) (U.S.S.C. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments far individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
3 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every caunt charging a Class C misdemeanor or an infraction,

The defendant must pay a special assessment or Special assessments in the total amount of $ 200 .

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

UPWARD OR DowNWARD DEPARTURE (US.S.C. ch, 5, pts. H & K)

List any applicable aggravating or mitigating citcumstunce that might support a term of imprisonment above or
below the applicable guideline Tange.

 

 

 

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